     Case 4:12-cv-00170-BAE-GRS Document 2 Filed 06/13/12 Page 1 of 3




                UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                          SAVANNAH DIVISION

KEITH G. COLEMAN,

      Movant,

0                                            Case No. CV412-170
                                                       CR497-181
UNITED STATES OF AMERICA,

      Respondent.


                 REPORT AND RECOMMENDATION

     Keith G. Coleman has submitted for filing his second 28 U.S.C. §

2255 motion, again attacking the 1997 conviction and life sentence he

received for his actions in a drug conspiracy. (Doc. 1); see United States v.

Coleman, No. CR497-181 (S.D. Ga. Jan. 28, 1998); Coleman v. United
States, No. CV400-054 (S..D. Ga. Feb. 28, 2000) (first § 2255 motion).
Since this is a successive motion, Coleman must first "move in the

appropriate court of appeals for an order authorizing the district court to

consider the application." 28 U.S.C. § 2244(b)(3)(A); see 28 U.S.C. §

2255(h) (cross-referencing § 2244 certification requirement).' In fact, this


     1 While he frames this as a § 2255 motion, he also invites the Court to find that
     Case 4:12-cv-00170-BAE-GRS Document 2 Filed 06/13/12 Page 2 of 3




Court must dismiss second or successive petitions, without awaiting any

response from the government, absent prior approval by the court of
appeals. Levert v. United States, 280 F. App'x 936, 936 (11th Cir. 2008)

(per curiam) ("Without authorization, the district court lacks jurisdiction
to consider a second or successive petition."); Hill v. Hopper, 112 F.3d
1088, 1089 (11th Cir. 1997) (same); In re Medina, 109 F.3d 1556, 1561
(11th Cir. 1997); Nunez v. United States, 96 F.3d 990, 991 (7th Cir. 1996).
      Because Coleman has filed this latest § 2255 motion without prior

Eleventh Circuit approval, this Court is without jurisdiction to consider it.
Consequently, it should be DISMISSED as successive. Applying the

Certificate of Appealability ("COX) standards set forth in Brown v.
United States, 2009 WL 307872 at * 1-2 (S.D. Ga. Feb. 9, 2009)

(unpublished), the Court discerns no COA-worthy issues at this stage of
the litigation, so no COA should issue. 28 U.S.C. § 2253(c)(1); see
Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000) (approving sua

relief under § 2255 is inadequate and ineffective, thus permitting him to proceed
under the All Writs Act, 28 U.S.C. § 1651. (Doe. 1 at 7.) The Court will not permit him
to use the All Writs Act as an end-run around the successiveness bar, especially where
he has not even attempted to seek permission to file a successive motion from the
Court of Appeals. See, e.g., Barrow v. United States, 455 F. App'x 631, 634 (6th Cir.
2012) (writs and petitions based on the All Writs Act may be deployed only when a §
2255 motion is unavailable, such as when the movant no longer meets § 2255's "in
custody" requirements); United States v. Montano, 442 F. App'x 412, 413 (10th Cir.
2011).
                                           PA
        Case 4:12-cv-00170-BAE-GRS Document 2 Filed 06/13/12 Page 3 of 3




sponte denial of COA before movant filed a notice of appeal). And, as

there are no non-frivolous issues to raise on appeal, an appeal would not
be taken in good faith. Thus, in forma pauperis status on appeal should

likewise be DENIED. 28 U.S.C. § 1915(a)(3).
        SO REPORTED AND RECOMMENDED this                        day of June,
2012.


                                   UNITE) TATES MAGISTRATE JUDGE
                                   SOUTHERN DISTRICT OF GEORGIA




                                     3
